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 7                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 8                                    AT TACOMA
 9   UNITED STATES OF AMERICA,          )              NO. CR98-499 FDB
                                        )
10                    Plaintiff,        )
                                        )              ORDER FOR DISMISSAL OF
11        v.                            )              INDICTMENT AND QUASHING OF
                                        )              ARREST WARRANT
12   DEANNA D. WEIR,                    )
                                        )
13                    Defendant.        )
     __________________________________ )
14

15           The United States of America, by and through Jeffrey C. Sullivan, United States
16   Attorney for the Western District of Washington, and Susan B. Dohrmann, Assistant
17   United States Attorney for said District, pursuant to Rule 48(a) of the Federal Rules of
18   Criminal Procedure, has moved to dismiss the Indictment without prejudice against the
19   defendant, DEANNA K. WEIR, and to quash the arrest warrant in this case.
20           Based on the government’s Motion and the reasons set forth therein, leave of Court
21   is granted for filing of the dismissal of the Indictment without prejudice and the arrest
22   warrant is quashed.
23           DATED this 29th day of April, 2009.
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                                         A
                                         FRANKLIN D. BURGESS
                                         UNITED STATES DISTRICT JUDGE

     ORDER/WEIR - 1                                                              UNITED STATES ATTORNEY
     CR98-499 FDB                                                                 700 Stewart Street, Suite 5220
                                                                                 Seattle, Washington 98101-1271
                                                                                          (206) 553-7970
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     Presented by:
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 8
     s/Susan B. Dohrmann
 9   SUSAN B. DOHRMANN
     Assistant United States Attorney
10   Washington State Bar No. 13475
11
     United States Attorney’s Office
     700 Stewart Street, Suite 5220
12   Seattle, WA 98101-1271
     Telephone: (206) 553-5326
13   Fax: (206) 553-2422
14   E-mail: susan.dohrmann@usdoj.gov

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     ORDER/WEIR - 2                                                    UNITED STATES ATTORNEY
     CR98-499 FDB                                                       700 Stewart Street, Suite 5220
                                                                       Seattle, Washington 98101-1271
                                                                                (206) 553-7970
